Case 2:24-cv-04055-JXN-LDW Document 49-4 Filed 06/07/24 Page 1 of 3 PageID: 350




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 Attorneys for Defendant Apple Inc.

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA, et al.,                                 Case No. 2:24-cv-04055
                                                                        (JXN-LDW)
                       Plaintiffs,
                                                                   CERTIFICATION OF
                       v.                                           LIZA M. WALSH

 APPLE INC.,
                                                                     Filed Electronically
                       Defendant.


        I, Liza M. Walsh, of full age, hereby certify:

        1.      I am an attorney-at-law of the State of New Jersey, and a partner of the law firm of

 Walsh Pizzi O’Reilly Falanga LLP, attorneys for Defendant Apple Inc. (“Apple”) in connection

 with the above-captioned action. I am a member in good standing of the bar of this Court.

        2.      I submit this certification in support of Apple’s application for the pro hac vice

 admission of Matthew J. Reilly, Mary Elizabeth Miller, and Luke P. McGuire of the law firm

 Kirkland & Ellis LLP in this matter pursuant to Local Civil Rule 101.1(c).

        3.      Matthew J. Reilly is a partner of the firm of Kirkland & Ellis LLP. Mr. Reilly is a

 member in good standing of the Bars to which he is admitted, and his qualifications are set forth

 in the Certification of Matthew J. Reilly filed simultaneously with these papers.
Case 2:24-cv-04055-JXN-LDW Document 49-4 Filed 06/07/24 Page 2 of 3 PageID: 351




        4.      Mary Elizabeth Miller is a partner of the firm of Kirkland & Ellis LLP. Ms. Miller

 is a member in good standing of the Bars to which she is admitted, and her qualifications are set

 forth in the Certification of Mary Elizabeth Miller filed simultaneously with these papers.

        5.      Luke P. McGuire is an associate of the firm of Kirkland & Ellis LLP. Mr. McGuire

 is a member in good standing of the Bars to which he is admitted, and his qualifications are set

 forth in the Certification of Luke P. McGuire filed simultaneously with these papers.

        6.      I am confident that Matthew J. Reilly, Mary Elizabeth Miller, and Luke P. McGuire

 are fully conversant with the Local Civil Rules of the United States District Court for the District

 of New Jersey, and they have advised me that they will abide by those Rules. I have agreed to

 work with Matthew J. Reilly, Mary Elizabeth Miller, and Luke P. McGuire in this action.

        7.      I agree to be held responsible for the filing of all pleadings, briefs and other papers

 filed with the Court and to have such papers signed by me or another attorney with Walsh Pizzi

 O’Reilly Falanga LLP authorized to practice law in the state of New Jersey. I further agree to be

 held responsible for the conduct of my specially admitted colleagues and will ensure that Matthew

 J. Reilly, Mary Elizabeth Miller, and Luke P. McGuire will comply with Local Rule 101.1(c)

 should this application be granted.

        8.      I further agree that I, or another attorney with Walsh Pizzi O’Reilly Falanga LLP

 authorized to practice law in the state of New Jersey, will continue to make all court appearances

 unless otherwise excused by the Court.

        9.      Plaintiffs, through counsel, have consented to the pro hac vice admission of

 Matthew J. Reilly, Mary Elizabeth Miller, and Luke P. McGuire.




                                                  2
Case 2:24-cv-04055-JXN-LDW Document 49-4 Filed 06/07/24 Page 3 of 3 PageID: 352




        10.     For the foregoing reasons, it is respectfully requested that the Court enter an Order

 admitting Matthew J. Reilly, Mary Elizabeth Miller, and Luke P. McGuire to appear pro hac vice

 before this Court for all further proceedings in this case.

        I hereby certify under penalty of perjury that the foregoing is true and correct.




  Dated: June 7, 2024                                  WALSH PIZZI O’REILLY FALANGA LLP

                                                       /s/Liza M. Walsh
                                                       Liza M. Walsh
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                                                       Attorneys for Defendant Apple Inc.




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